    Case 1:18-bk-12377-MT            Doc 92 Filed 03/08/22 Entered 03/08/22 13:52:21                       Desc
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In re: Reynaldo Villanueva                                            Chapter: 13

                                                     Debtor           Case Number: 1:18-bk-12377-MT

                                 PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is
15260 Ventura Blvd., Suite 710, Sherman Oaks, CA 91403.

The foregoing document described CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUN T will be
served or was served (a) on the judge in chambers in the form and manner required by LBR 5005 -2(d); and (b) in the
manner indicated below:

I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”) - Pursuant to controlling
General Order(s) and Local Bankruptcy Rule(s) (“LBR”), the foregoing document will be served by the court via NEF
and hyperlink to the document. On ____________ I checked the CM/ECF docket for this bankruptcy case or
adversary proceeding and determined that the following person (s) are on the Electronic Mail Notice List to receive
NEF transmission at the email address(es) indicated below:


                                                                 Service Information continued on attached page

II. SERVED BY U.S. MAIL OR OVERNIGHT MAIL (indicate method for each person or entity served):
On 03/03/2022 I served the following person(s) and/or entity(ies) at the last known address(es) in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States
Mail, first class, postage prepaid, and/or with an overnight mail service addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is
filed.


Reynaldo Villanueva                     R. Grace Rodriguez
13865 Fielding Street                   The Law Offices of R. Grace
Pacoima, CA 91331                       Rodriguez
                                        21000 Devonshire Street, Suite 111
                                        Chatsworth, CA 91311

                                                                 Service Information continued on attached page

III. SERVED BY PERSONAL DELIVERY, FACSIMILE TRANSMISSION OR EMAIL (Indicate method for each
person or entity served): Pursuant to F.R.Civ.P.5 and/or controlling LBR, on ____________ I served the following
person(s) and/or entity(ies) by personal delivery, or (for those who consented in writing to such a service method ),
by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on the judge will be completed no later than 24 hours after the document is filed.


                                                                 Service Information continued on attached page

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and
correct.

        03/03/2022                         Devika Parashar                            /s/ Devika Parashar
            Date                             Type Name                                     Signature
